Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 1 of 40




                          Exhibit 2
                          Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 2 of 40
                                             ALABAMA SJIS CASE DETAIL
                                                                                                                   PREPARED FOR: BECKY CHANDER
                                                                                                                                      4/23/2024 11:53:40 AM
                          County: 03      Case Number: CV-2024-900464.00                         Court Action:
                          Style: JOHN DOE V. GENERAL MOTORS, LLC
                                                                                                                                                          Real Time

Case
     Case Information
  County:          03-MONTGOMERY              Case Number:         CV-2024-900464.00                           Judge:          JHA:JAMES H ANDERSON
  Style:           JOHN DOE V. GENERAL MOTORS, LLC
  Filed:           03/21/2024                 Case Status:         ACTIVE                                      Case Type: OTHER CV CASE
  Trial Type:      BENCH                       Track:                                                          Appellate Case:         0
  No of Plaintiffs: 1                         No of Defendants:    1




       Damages
  Damage Amt:      0.00                       Punitive Damages:             0.00                               General Damages:            0.00
  No Damages:                                 Compensatory Damages:         0.00
  Pay To:                                     Payment Frequency:                                               Cost Paid By:


     Court Action
  Court Action Code:                              Court Action Desc:                                          Court Action Date:
  Num of Trial days:            0                 Num of Liens:        0                                      Judgment For:
  Dispositon Date of Appeal:                      Disposition Judge: :                                        Disposition Type:
  Revised Judgement Date:                         Minstral:                                                   Appeal Date:
  Date Trial Began but No Verdict (TBNV1):
  Date Trial Began but No Verdict (TBNV2):



     Comments
  Comment 1:
  Comment 2:



   Appeal Information
 Appeal Date:                                Appeal Case Number:                                               Appeal Court:
 Appeal Status:                              Orgin Of Appeal:
 Appeal To:                                  Appeal To Desc:                                                   LowerCourt Appeal Date:
 Disposition Date Of Appeal:                                       Disposition Type Of Appeal:


   Administrative Information
 Transfer to Admin Doc Date:                   Transfer Reason:                                    Transfer Desc:
 Number of Subponeas:                          Last Update:        03/21/2024                      Updated By:        AJA




Parties
Party 1 - Plaintiff INDIVIDUAL - DOE JOHN
     Party Information
  Party:           C001-Plaintiff             Name:           DOE JOHN                                                         Type:              I-INDIVIDUAL
  Index:           D GENERAL MOTO             Alt Name:                                           Hardship:      No            JID:               JHA
  Address 1:       475 PROVIDENCE MAIN ST                                                         Phone:         (334) 000-0000
  Address 2:       SUITE 303D
  Address 2:      SUITE 303D
                        Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 3 of 40
  City:           HUNTSVILLE                  State:      AL                                   Zip:           35806-0000 Country:    US
  SSN:            XXX-XX-X999                 DOB:                                             Sex:                         Race:


     Court Action
  Court Action:                                                                                           Court Action Date:
  Amount of Judgement: $0.00                              Court Action For:                               Exemptions:
  Cost Against Party:      $0.00                          Other Cost:         $0.00                       Date Satisfied:
  Comment:                                                                                                Arrest Date:
  Warrant Action Date:                                    Warrant Action Status:                          Status Description:


    Service Information
  Issued:                Issued Type:                             Reissue:                                 Reissue Type:
  Return:                Return Type:                             Return:                                 Return Type:
  Served:                Service Type                             Service On:                           Notice of No
                                                                                                          Served  By:Answer:
  Answer:                Answer Type:                             Notice of No Service:


     Attorneys
  Number           Attorney Code        Type of Counsel   Name                                        Email                         Phone
  Attorney 1       HUG057                                 HUGHES NICHOLAS COLE                        NICK@ARGOHUGHES.COM           (334) 279-0088

Party 2 - Defendant BUSINESS - GENERAL MOTORS, LLC
     Party Information
  Party:          D001-Defendant              Name:       GENERAL MOTORS, LLC                                            Type:       B-BUSINESS
  Index:          C DOE JOHN                  Alt Name:                                        Hardship:      No         JID:        JHA
  Address 1:      641 S. LAWRENCE ST                                                           Phone:         (334) 000-0000
  Address 2:      C/O CORP SVC CO, INC
  City:           MONTGOMERY                  State:      AL                                   Zip:           36104-0000 Country:    US
  SSN:            XXX-XX-X999                 DOB:                                             Sex:                         Race:


     Court Action
  Court Action:                                                                                           Court Action Date:
  Amount of Judgement: $0.00                              Court Action For:                               Exemptions:
  Cost Against Party:      $0.00                          Other Cost:         $0.00                       Date Satisfied:
  Comment:                                                                                                Arrest Date:
  Warrant Action Date:                                    Warrant Action Status:                          Status Description:


    Service Information
  Issued:   03/21/2024 Issued Type:      S-SHERIFF                Reissue:                                 Reissue Type:
  Return:            Return Type:                      Return:                                            Return Type:
  Served: 03/28/2024 Service Type A-AUTHORIZED SERVICE Service On:                                      Notice of No
                                                                                                          Served  By:Answer:
  Answer:            Answer Type:                      Notice of No Service:


     Attorneys
  Number           Attorney Code        Type of Counsel   Name                                        Email                         Phone
  Attorney 1       000000                                 PRO SE


Financial
   Fee Sheet
  Fee Status      Admin Fee        Fee Code     Payor          Payee      Amount Due      Amount Paid         Balance    Amount Hold Garnish Party

                                              © Alacourt.com     4/23/2024                 2
   Fee Status        Admin Fee       Fee Code       Payor         Payee         Amount Due            Amount Paid         Balance      Amount Hold Garnish Party
                          Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 4 of 40
   ACTIVE            N               CONV           C001            000                      $11.04              $11.04        $0.00          $0.00 0
   ACTIVE            N               CV00           C001            000                  $201.00             $201.00           $0.00          $0.00 0
   ACTIVE            N               SERV           C001            000                      $30.00              $30.00        $0.00          $0.00 0
   ACTIVE            N               VADM           C001            000                      $45.00              $45.00        $0.00          $0.00 0

                                                                  Total:                 $287.04             $287.04           $0.00          $0.00


    Financial History
 Transaction Description Disbursement Transaction           Receipt Number Amount        From Party To Party          Money     Admin Reason      Attorney Operator
 Date                    Accoun       Batch                                                                           Type      Fee

 03/21/2024     CREDIT        CONV            2024123       29227000         $11.04      C001              000                  N                          JAP
 03/21/2024     RECEIPT       CV00            2024123       29227100         $201.00     C001              000                  N                          JAP
 03/21/2024     RECEIPT       SERV            2024123       29227200         $30.00      C001              000                  N                          JAP
 03/21/2024     RECEIPT       VADM            2024123       29227300         $45.00      C001              000                  N                          JAP



Case Action Summary
Date:         Time        Code        Comments                                                                                                          Operator
3/21/2024     1:05 PM     ECOMP       COMPLAINT E-FILED.                                                                                                HUG057
3/21/2024     1:06 PM     FILE        FILED THIS DATE: 03/21/2024            (AV01)                                                                     AJA
3/21/2024     1:06 PM     EORD        E-ORDER FLAG SET TO "Y"                 (AV01)                                                                    AJA
3/21/2024     1:06 PM     ASSJ        ASSIGNED TO JUDGE: JAMES H ANDERSON                    (AV01)                                                     AJA
3/21/2024     1:06 PM     SCAN        CASE SCANNED STATUS SET TO: N                   (AV01)                                                            AJA
3/21/2024     1:06 PM     TDMN        BENCH/NON-JURY TRIAL REQUESTED                    (AV01)                                                          AJA
3/21/2024     1:06 PM     STAT        CASE ASSIGNED STATUS OF: ACTIVE                  (AV01)                                                           AJA
3/21/2024     1:06 PM     EXPD        EXPEDITED STATUS DENIED                  (AV01)                                                                   AJA
3/21/2024     1:06 PM     ORIG        ORIGIN: INITIAL FILING               (AV01)                                                                       AJA
3/21/2024     1:06 PM     C001        C001 PARTY ADDED: DOE JOHN                    (AV02)                                                              AJA
3/21/2024     1:06 PM     C001        INDIGENT FLAG SET TO: N                (AV02)                                                                     AJA
3/21/2024     1:06 PM     C001        LISTED AS ATTORNEY FOR C001: HUGHES NICHOLAS COLE                                                                 AJA
3/21/2024     1:06 PM     C001        C001 E-ORDER FLAG SET TO "Y"                  (AV02)                                                              AJA
3/21/2024     1:06 PM     D001        D001 PARTY ADDED: GENERAL MOTORS, LLC                   (AV02)                                                    AJA
3/21/2024     1:06 PM     D001        INDIGENT FLAG SET TO: N                (AV02)                                                                     AJA
3/21/2024     1:06 PM     D001        LISTED AS ATTORNEY FOR D001: PRO SE               (AV02)                                                          AJA
3/21/2024     1:06 PM     D001        SHERIFF ISSUED: 03/21/2024 TO D001            (AV02)                                                              AJA
3/21/2024     1:06 PM     D001        D001 E-ORDER FLAG SET TO "Y"                  (AV02)                                                              AJA
3/29/2024     1:18 PM     D001        SERVICE OF AUTHORIZED ON 03/28/2024 FOR D001(AV02)                                                                HEE
3/29/2024     1:18 PM     ESERC       SERVICE RETURN                                                                                                    HEE
4/3/2024      11:41 AM    EDISC       NOTICE OF DISCOVERY E-FILED.                                                                                      HUG057
4/17/2024     2:10 PM     EDISC       NOTICE OF DISCOVERY E-FILED.                                                                                      HUG057



Images
Date:                     Doc#        Title                                  Description                                                                   Pages
3/21/2024 1:06:00 PM      1           CIVIL_COVER_SHEET                      CIRCUIT COURT - CIVIL CASE                                                    1
3/21/2024 1:06:01 PM      2           COMPLAINT                                                                                                            10
3/21/2024 1:06:44 PM      3           COMPLAINT - TRANSMITTAL                E-NOTICE TRANSMITTALS                                                         2
3/21/2024 1:06:45 PM      4           COMPLAINT - SUMMONS                    E-NOTICE TRANSMITTALS                                                         1
3/29/2024 1:18:43 PM      5           SERVICE RETURN                         SERVICE RETURN                                                                1
3/29/2024 1:18:48 PM      6           SERVICE RETURN - TRANSMITTAL           E-NOTICE TRANSMITTALS                                                         1
4/3/2024 11:41:55 AM      7           NOTICE OF DISCOVERY                    Notice of Service of Discovery                                                6
4/3/2024 11:42:01 AM      8           DISCOVERY - TRANSMITTAL                E-NOTICE TRANSMITTALS                                                         2
4/17/2024 2:10:27 PM      9           NOTICE OF DISCOVERY                    Requests for Admissions                                                       9
4/17/2024 2:10:30 PM      10          DISCOVERY - TRANSMITTAL                E-NOTICE TRANSMITTALS                                                         2



                                                 © Alacourt.com        4/23/2024                       3
Case 2:24-cv-00249-MHT-KFPENDDocument   1-2 Filed 04/26/24 Page 5 of 40
                              OF THE REPORT




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                                                        DOCUMENT 1
                                                                         ELECTRONICALLY
                 Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 6 of 40        FILED
                                                                            3/21/2024 1:05 PM
                                                                                                              03-CV-2024-900464.00
State of Alabama                                                                            Case Number: CIRCUIT COURT OF
                                            COVER SHEET                                            MONTGOMERY COUNTY, ALABAMA
Unified Judicial System
                                      CIRCUIT COURT - CIVIL CASE                            03-CV-2024-900464.00
                                                                                                   GINA J. ISHMAN, CLERK
                                       (Not For Domestic Relations Cases)                   Date of Filing:            Judge Code:
Form ARCiv-93      Rev. 9/18
                                                                                            03/21/2024

                                               GENERAL INFORMATION
                               IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA
                                          JOHN DOE v. GENERAL MOTORS, LLC

First Plaintiff:       Business        Individual             First Defendant:         Business                Individual
                       Government      Other                                           Government              Other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                               OTHER CIVIL FILINGS (cont'd)
     WDEA - Wrongful Death                                  MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     TONG - Negligence: General                                    Enforcement of Agency Subpoena/Petition to Preserve

     TOMV - Negligence: Motor Vehicle                       CVRT - Civil Rights
     TOWA - Wantonness                                      COND - Condemnation/Eminent Domain/Right-of-Way

     TOPL - Product Liability/AEMLD                         CTMP - Contempt of Court

     TOMM - Malpractice-Medical                             CONT - Contract/Ejectment/Writ of Seizure

     TOLM - Malpractice-Legal                               TOCN - Conversion

     TOOM - Malpractice-Other                               EQND - Equity Non-Damages Actions/Declaratory Judgment/
                                                                   Injunction Election Contest/Quiet Title/Sale For Division
     TBFM - Fraud/Bad Faith/Misrepresentation
                                                            CVUD - Eviction Appeal/Unlawful Detainer
     TOXX - Other:
                                                            FORJ - Foreign Judgment
                                                            FORF - Fruits of Crime Forfeiture
TORTS: PERSONAL INJURY
                                                            MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
     TOPE - Personal Property
                                                            PFAB - Protection From Abuse
     TORE - Real Properly
                                                            EPFA - Elder Protection From Abuse
OTHER CIVIL FILINGS                                         QTLB - Quiet Title Land Bank
     ABAN - Abandoned Automobile                            FELA - Railroad/Seaman (FELA)
     ACCT - Account & Nonmortgage                           RPRO - Real Property
     APAA - Administrative Agency Appeal                    WTEG - Will/Trust/Estate/Guardianship/Conservatorship
     ADPA - Administrative Procedure Act                    COMP - Workers’ Compensation
     ANPS - Adults in Need of Protective Service            CVXX - Miscellaneous Circuit Civil Case

ORIGIN:      F       INITIAL FILING                    A       APPEAL FROM                               O       OTHER
                                                               DISTRICT COURT

             R       REMANDED                          T       TRANSFERRED FROM
                                                               OTHER CIRCUIT COURT

                                                                    Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                  YES     NO           jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                      MONETARY AWARD REQUESTED                   NO MONETARY AWARD REQUESTED

ATTORNEY CODE:
        HUG057                                 3/21/2024 1:05:59 PM                              /s/ NICHOLAS COLE HUGHES
                                           Date                                              Signature of Attorney/Party filing this form


MEDIATION REQUESTED:                           YES    NO      UNDECIDED

Election to Proceed under the Alabama Rules for Expedited Civil Actions:                     YES      NO
                                       DOCUMENT 2
                                                         ELECTRONICALLY
 Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 7 of 40        FILED
                                                            3/21/2024 1:05 PM
                                                                               03-CV-2024-900464.00
                                                                               CIRCUIT COURT OF
                                                                         MONTGOMERY COUNTY, ALABAMA
                                                                             GINA J. ISHMAN, CLERK
      IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

JOHN DOE,                                    *
     Plaintiff,                              *
                                             *
vs.                                          *       CASE NO. CV-24-_____________
                                             *
GENERAL MOTORS LLC,                          *
    Defendant.                               *

                                       COMPLAINT

       COMES NOW the Plaintiff, John Doe, naming as Defendant, General Motors

LLC, alleging as follows:

                                         FACTS

       1.      Plaintiff, John Doe, is a resident of Montgomery County, Alabama.

Plaintiff is filing this complaint under a pseudonym due to privacy concerns.

       2.      Defendant,    General    Motors    LLC     (hereinafter    referred   to   as

"Manufacturer"), is a corporation authorized to do business in the State of Alabama and, at

all times relevant hereto, was engaged in the manufacture, sale, distribution and/or

importing of GMC brand vehicles and related equipment.

       3.      On or about March 17, 2023, Plaintiff obtained a new GMC Sierra 1500

(having Vehicle Identification Number IGTUUHEL4PZ230265) for the sum of

$84,695.00, which motor vehicle was manufactured, distributed and/or imported by the

Defendant Manufacturer.

       4.      The Plaintiff, John Doe, is a consumer, as defined by Section Title 8, §8-

20A-1, Ala. Code 1975.

        5.     The Plaintiff’s 2023 GMC Sierra 1500 is a motor vehicle as defined by

Section Title 8, §8-20A-1, Ala. Code 1975.
                                          DOCUMENT 2
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         6.       The Defendant, General Motors LLC, is a manufacturer as defined by

Section Title 8, §8-20A-1, Ala. Code 1975.

         7.       On or about September 8, 2023, Defendant received proper notice of a non-

conforming condition as defined by Section Title 8, §8-20A-1, Ala. Code 1975.

      8.          On or about March 17, 2023, the Plaintiff purchased the Motor Vehicle, and

on or about March 17, 2023, the Motor Vehicle began having significant non-conforming

conditions.

      9.          At the time of said non-conforming conditions, the Motor Vehicle’s express

warranty and implied warranties were still in full force and effect. Said non-conforming

conditions include: 1) constant noise coming from the climate control system that has not

worked        properly   since   the   date   of   purchase   (hereinafter   the   “Defects”).

      10.         As a result of said non-conforming condition, Plaintiff took the vehicle to

an Authorized Dealer of Defendant for proper repairs to cure the “defect” on at least three

(3) occasions.

      11.         The defect was duplicated by an authorized dealer of Defendant’s on

January 24, 2024 and March 7, 2024. Said authorized dealer was unaware of how to

remedy the defect.

      12.         On March 7, 2024, and after being placed on notice as listed in Paragraph

7, the defect was also duplicated by a field engineer of Defendant’s. The field engineer

was not able to correct the defect.

      13.         Plaintiff has provided high quality videos of the defect to Defendant,

Defendant’s authorized dealer, and Defendant’s field engineer prior to the filing of the

above-styled action. It is apparent that those parties cannot remedy the defect.
                                         DOCUMENT 2
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      14.       Defendant was given opportunities to make final repairs to said motor

vehicle.

      15.       Defendant and Plaintiff have attempted to resolve this matter through

informal dispute settlement talks to no avail.

      16.       This cause arises out of the Defendant’s negligence, misrepresentation,

breaches of warranty and contract and violations of statutes, as hereinafter set forth.

                                     COUNT I
                               BREACH OF WARRANTIES

      17.       Plaintiff incorporates by reference all facts and allegations set forth above

in this complaint as if fully set forth herein.

      18.       Defendant is a merchant with respect to motor vehicles under Title 7, §7-2-

104, Ala. Code 1975.

      19.       The aforementioned motor vehicle purchased by Plaintiff was subject to

implied warranties of merchantability under Title 7, §7-2-314, Ala. Code 1975.

      20.       Defendant, to induce said sale, also made certain express warranties and

representations to Plaintiff, both orally and in writing and through their advertising and

conduct.

      21.       Said express and implied warranties and representations included, but were

not limited to, the following:

        (a)     Said vehicle was of good, sound and merchantable quality;

        (b)     Said vehicle was free from defective parts and workmanship;

        (c)     Said vehicle was so engineered and designed as to function without

                requiring unreasonable maintenance and repairs;

        (d)     Any defects or non-conformities would be cured within a reasonable time;
                                         DOCUMENT 2
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        (e)     In the event said vehicle was not free from defective parts or workmanship

                that Defendant would repair or replace the same without cost to Plaintiff.

      22.       Said vehicle was not warranted and represented and has suffered from the

Defect as is reflected in the numerous repair orders in possession of Defendant.

      23.       Plaintiff has given Defendant reasonable opportunities to cure said Defect

and make the subject vehicle fit for its intended purpose, but Defendant has been unable or

has refused to do so within a reasonable time and without cost to Plaintiff.

      24.       As a direct and proximate result of Defendant’s various breaches of

warranty, Plaintiff has suffered damages, including but not limited to: the purchase price

of the vehicle, a 2021 GMC Sierra Denali traded in exchange for the vehicle, interest and

sales tax, insurance, and in addition, Plaintiff will suffer future damages, including but not

limited to, the cost of covering a contract elsewhere, aggravation and inconvenience,

mental anguish, together with costs and attorney fees in attempting to obtain relief from

Defendant’s wrongful conduct.

                                   COUNT II
                           REVOCATION OF ACCEPTANCE

      25.       Plaintiff incorporates by reference all facts and allegations set forth above

in this complaint as if fully set forth herein.

      26.       Plaintiff reasonably assumed and Defendant represented that the aforesaid

Defect or non-conformities would be cured within a reasonable time.

      27.       After numerous attempts by an Authorized Dealer of Defendant to cure, it

has become apparent that said non-conformities cannot be cured as problems with said

vehicle continue to appear.
                                         DOCUMENT 2
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        28.     The non-conformities substantially impair the value of the vehicle to

Plaintiff.

        29.     Plaintiff has previously notified Defendant of said non-conformities and

Plaintiff’s intent to revoke acceptance pursuant to Title 7, §7-2-608, Ala. Code 1975 and

demand cancellation of the contract as well as the return of any monies owed Plaintiff

thereunder.

                                   COUNT III
                       LIABILITY UNDER MAGNUSON-MOSS
                       WARRANTY ACT (15 USC §2301 ET SEQ)

        30.     Plaintiff incorporates by reference all facts and allegations set forth above

in this complaint as if fully set forth herein.

        31.     This Court has jurisdiction to decide claims brought under 15 USC §2301

et seq., by virtue of 15 USC §2301(d)-(a).

        32.     Plaintiff is a consumer as defined in 15 USC §2301(3).

        33.     Defendant is a supplier and warrantor as defined in 15 USC §2301(4)(5).

        34.     The aforementioned motor vehicle is a consumer product as defined in 15

USC§2301(6).

        35.     15 USC §2301(a)(1), requires Defendant, as warrantors, to remedy any

defect, malfunction or nonconformance of the subject vehicle within a reasonable time and

without charge to Plaintiff, as defined in 15 USC §2304(d).

        36.     Despite repeated demands and despite the fact that Plaintiff has complied

with all reasonable terms and conditions imposed on him by Defendant, Defendant has

failed and refused to remedy within a reasonable time the defects heretofore set forth in the

Facts of this Complaint.
                                         DOCUMENT 2
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        37.     As a result of Defendant’s breaches of express and implied warranties as set

forth in this Complaint, and Defendant’s failure to remedy same within a reasonable time

and without charge to Plaintiff, Plaintiff has suffered the damages enumerated in Count I

of this Complaint.

                                 COUNT IV
                     MISREPRESENTATION AND NEGLIGENCE

        38.     Plaintiff incorporates by reference all facts and allegations set forth above

in this complaint as if fully set forth herein.

        39.     At all times relevant hereto, Defendant had a duty to perform repairs or

cause repairs to be performed in a careful, workmanlike manner within a reasonable time

and had a further duty to disclose to Plaintiff any defects or non-conformities which could

not be cured within a reasonable time.

        40.     Defendant had a duty to warn Plaintiff that the subject vehicle was not free

of defects.

        41.     At all times relevant hereto, Defendant breached the aforesaid duty of

disclosure by representing, either affirmatively or by omission, that the abovementioned

Defects could be seasonably cured, when they knew, or in the exercise of reasonable care,

should have known the same to be untrue.

        42.     Defendant further breached the aforesaid duty to disclose by representing,

either affirmatively or by omission, that the subject vehicle had been properly repaired,

when in fact, the vehicle had not been adequately or properly repaired.

        43.     The foregoing representations were false.
                                        DOCUMENT 2
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        44.    Defendant made the aforesaid representations, knowing the same to be false

or with reckless disregard as to whether they were true or false or, alternatively, innocently

or negligently but with the intent that Plaintiff rely on the same.

        45.    Plaintiff reasonably relied on Defendant’s representations to his detriment,

as herein before alleged.

        46.    Defendant received benefits from Plaintiff’s reliance.

        47.    As a direct and proximate result of Defendant’s aforementioned negligence

and misrepresentation, Plaintiff has suffered the damages set forth in Count I above.

                             COUNT V
    VIOLATION OF § 8-20A OF THE CODE OF ALABAMA (1975), ET SEQ.
                      (ALABAMA LEMON LAW)

        48.    Plaintiff incorporates by reference all heretofore mentioned facts and

allegations set forth above in this Complaint as if fully set forth herein.

        49.    The subject vehicle has been out of service because of repairs on multiple

occasions, with the first such repair being within one year of the date of delivery to

Plaintiffs.

        50.    Plaintiff has given reasonable notice and opportunity to cure as required by

statute and has otherwise complied with all other requirements of said statute so that the

remedy may be afforded him.

        51.    To the extent that any further notice or demand is required, the same is

hereby made and given.

        52.    Despite demand, Defendant has refused to refund Plaintiff’s purchase price,

less the reasonable allowance for Plaintiff’s use of the vehicle as required by Title 8, §8-

20A-2, Ala. Code 1975, together with Plaintiff’s out of pocket costs as required by statute.
                                        DOCUMENT 2
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       53.     Defendant has failed to comply with Title 8, Chapter 20A of the Code of

Alabama entitled Motor Vehicle Lemon Law Rights (The “Lemon Law”).

       54.     As a proximate consequence of said violations, Plaintiff has suffered

damages as he paid $84,695.00 for a Motor Vehicle that has significantly impaired use,

value and/or safety due to its non-conforming conditions.

       55.     Said non-conforming conditions to the Motor Vehicle are not the result of

any abuse, neglect, modification or alteration by the Plaintiff or by any accident or other

damage to the Motor Vehicle.

       56.     As a proximate consequence of the Defendant’s failure to comply with The

Lemon Law, Plaintiff has suffered damages of:

       (a) The contract price of the motor vehicle;

       (b) All collateral charges including, but not limited to, the sales tax, license and

       registration fees and similar government charges;

       (c) All finance charges incurred after first reporting said non-conformity to the

       Defendant, its agent or its authorized dealer;

       (d) Any incidental charges incurred by the Plaintiff; and

       (e) Reasonable attorney’s fees and costs.

                                      COUNT VI
                              DECEPTIVE TRADE PRACTICES

       57.     Plaintiff incorporates by reference all heretofore mentioned facts and

allegations set forth above in this Complaint as if fully set forth herein.

       58.     Defendants violated the Alabama Deceptive Trade Practices Act as stated

in Title 8, §8-19-5, Ala. Code 1975 in each of the following instances:
                                        DOCUMENT 2
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       (a)     Representing that goods or services are of a particular standard, quality, or

               grade, or that goods are of a particular style or model, if they are of another;

       (b)     Advertising goods or services with the intent not to sell them as advertised;

       (c)     Knowingly making false or misleading statements of fact concerning the

               need for parts, replacement, or repair service;

       (d)     Engaging in any other unconscionable, false, misleading, or deceptive act

               or practice in the conduct of trade or commerce.

WHEREFORE, Plaintiffs request relief as follows:

   1. A judgment in the amount of $84,695.00 for the contract price of the vehicle and

       interest on the loan.

   2. An Order requiring Defendant to refund Plaintiff’s purchase price, together with

       taxes, insurance premiums, interest, costs and actual attorney fees as provided by

       Title 8, § 8-20A and Title 8, §8-19-10 of the Code of Alabama (1975), et seq., or

       in the alternative, that Plaintiff be awarded damages in whatever amount he is found

       to be entitled, plus interest, costs and attorney fees;

   3. An Order requiring Defendant to accept return of the subject vehicle and refund

       Plaintiff’s monies, together with incidental and consequential damages, interest,

       costs and reasonable attorney fees;

   4. An Order requiring Defendant to accept return of the subject vehicle and refund

       Plaintiff’s purchase price, together with taxes, insurance premiums, interest, costs

       and actual attorney fees as provided by 15 USC §2310(d)(2) or in the alternative,

       that Plaintiff be awarded damages in whatever amount above $10,000.00, but less
                                    DOCUMENT 2
Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 16 of 40




     than $75,000.00, he is found to be entitled, plus interest, costs and actual attorney

     fees;

  5. Any other and further relief as may be proper.

                                           /s/ Nicholas C. Hughes
                                           Nicholas Cole Hughes (HUG057)
                                           Attorney for the Plaintiff
                                           475 Providence Main Street, Suite 303D
                                           Huntsville, AL 35806
                                           Tel: 256-797-3057
                                           Fax: 334-279-8830
                                           nick@argohughes.com
                                             DOCUMENT 3
        Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 17 of 40


                                       AlaFile E-Notice




                                                                         03-CV-2024-900464.00


To: NICHOLAS COLE HUGHES
    nick@argohughes.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

                               JOHN DOE V. GENERAL MOTORS, LLC
                                     03-CV-2024-900464.00

                      The following complaint was FILED on 3/21/2024 1:06:00 PM




    Notice Date:     3/21/2024 1:06:00 PM




                                                                            GINA J. ISHMAN
                                                                    CIRCUIT COURT CLERK
                                                            MONTGOMERY COUNTY, ALABAMA
                                                                  251 S. LAWRENCE STREET
                                                                   MONTGOMERY, AL, 36104

                                                                                  334-832-1260
                                             DOCUMENT 3
        Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 18 of 40


                                       AlaFile E-Notice




                                                                         03-CV-2024-900464.00


To: GENERAL MOTORS, LLC
    641 S. LAWRENCE ST
    C/O CORP SVC CO, INC
    MONTGOMERY, AL, 36104




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

                               JOHN DOE V. GENERAL MOTORS, LLC
                                     03-CV-2024-900464.00

                      The following complaint was FILED on 3/21/2024 1:06:00 PM




    Notice Date:     3/21/2024 1:06:00 PM


    Service by sheriff in 03 – MONTGOMERY County



                                                                            GINA J. ISHMAN
                                                                    CIRCUIT COURT CLERK
                                                            MONTGOMERY COUNTY, ALABAMA
                                                                  251 S. LAWRENCE STREET
                                                                   MONTGOMERY, AL, 36104

                                                                                  334-832-1260
                                                                          DOCUMENT 4
             Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 19 of 40
State of Alabama                                               Court Case Number
Unified Judicial System
                                     SUMMONS
                                                                                                                      03-CV-2024-900464.00
Form C-34 Rev. 7/2023                                                - CIVIL -
                                   IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA
                                              JOHN DOE V. GENERAL MOTORS, LLC
  NOTICE TO: GENERAL MOTORS, LLC, 641 S. LAWRENCE ST C/O CORP SVC CO, INC, MONTGOMERY, AL 36104
                                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  NICHOLAS COLE HUGHES                                                                           ,
                                                                       [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 475 Providence Main Street, Suite 303D, Huntsville, AL 35806                                                                              .
                                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THIS ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
                  TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                      PROCEDURE TO SERVE PROCESS:
      You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
      this action upon the above-named Defendant.
      Service by certified mail of this Summons is initiated upon the written request below of
      pursuant to the Alabama Rules of the Civil Procedure.                                                                                      [Name(s)]
                   03/21/2024                                       /s/ GINA J. ISHMAN         By:
                         (Date)                                                         (Signature of Clerk)                                        (Name)

      Certified Mail is hereby requested.
                                                                                 (Plaintiff's/Attorney's Signature)
                                                                     RETURN ON SERVICE
                                                                                Certified Mail
         Return receipt of certified mail received in this office on                                                                                              .
                                                                                                                               (Date)
                                                                          Personal/Authorized
         I certify that I personally delivered a copy of this Summons and the Complaint or other document to
                                                            in                                            County, Alabama on                                          .
       (First and Last Name of Person Served)                                 (Name of County)                                                     (Date)
   Document left:
                  with above-named Defendant;
                  with an individual authorized to receive service of process pursuant to Rule 4(c), Alabama Rules of Civil Procedure;
                  at the above-named Defendant's dwelling house or place or usual place of abode with some
                  person of suitable age and discretion then residing therein.
                                                                         Return of Non-Service
         I certify that service of process of this Summons and the Complaint or other document was refused by
                                                       in                                        County, Alabama on                                         who is:
    (First and Last Name of Person Served)                         (Name of County)                                                     (Date)
                  the above-named Defendant;
                  an individual authorized to receive service of process pursuant to Rule 4(c), Alabama Rules of Civil Procedure;

         As a designated process server pursuant to Rule 4(i)(1)(B), Alabama Rules of Civil Procedure, I certify that I am
         at least 19 years of age, I am not a party to this proceeding, and I am not related within the third degree by blood or
         marriage to the party seeking service of process.

  (Type of Process Server)                             (Server's Signature)                              (Address of Server)


  (Badge or Precinct Number of Sheriff or Constable)   (Server's Printed Name)


  (Badge or Precinct Number of Sheriff or Constable)   (Telephone Number of Designated Process Server)
                            DOCUMENT 5
Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 20 of 40
                                           DOCUMENT 6
       Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 21 of 40


                                     AlaFile E-Notice




                                                                          03-CV-2024-900464.00
                                                                   Judge: JAMES H ANDERSON
To: HUGHES NICHOLAS COLE
    nick@argohughes.com




                       NOTICE OF SERVICE
               IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

                            JOHN DOE V. GENERAL MOTORS, LLC
                                  03-CV-2024-900464.00

                           The following matter was served on 3/28/2024

                                  D001 GENERAL MOTORS, LLC
                                        Corresponding To
                                     AUTHORIZED SERVICE




                                                                           GINA J. ISHMAN
                                                                   CIRCUIT COURT CLERK
                                                           MONTGOMERY COUNTY, ALABAMA
                                                                 251 S. LAWRENCE STREET
                                                                  MONTGOMERY, AL, 36104

                                                                                  334-832-1260
                                         DOCUMENT 7
                                                              ELECTRONICALLY
      Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page  22 of 40       FILED
                                                                  4/3/2024 11:41 AM
                                                                              03-CV-2024-900464.00
                                                                              CIRCUIT COURT OF
                                                                        MONTGOMERY COUNTY, ALABAMA
                                                                            GINA J. ISHMAN, CLERK
         IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

JOHN DOE,                                   *
     Plaintiff,                             *
                                            *
vs.                                         *       CASE NO. CV-24-900464
                                            *
GENERAL MOTORS LLC,                         *
    Defendant.                              *

                         NOTICE OF SERVICE OF DISCOVERY

        COMES NOW the Plaintiff, by and through the undersigned, and hereby gives notice of

service of the following discovery upon counsel of record:

        1. Plaintiff’s First Requests for the Production of Documents and Things to General

           Motors LLC.

                                                    /s/ Nicholas C. Hughes
                                                    Nicholas Cole Hughes (HUG057),
                                                    Attorney for the Plaintiff
Argo | Hughes, LLC
Nicholas Cole Hughes (HUG057)
475 Providence Main Street, Suite 303D
Huntsville, AL 35806
Tel: 334-279-0088
Fax: 334-279-8830
nick@argohughes.com

                               CERTIFICATE OF SERVICE

      I hereby certify that I have electronically served a copy of the foregoing document using
the ALAFILE system upon all parties of record on this 3rd day of April 2024.


                                                    /s/ Nicholas C. Hughes
                                                    Nicholas Cole Hughes
                                            DOCUMENT 7
      Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 23 of 40




          IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

JOHN DOE,                                       *
     Plaintiff,                                 *
                                                *
vs.                                             *       CASE NO. CV-24-900464
                                                *
GENERAL MOTORS LLC,                             *
    Defendant.                                  *

        PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS
             AND THINGS TO DEFENDANT GENERAL MOTORS LLC

        COMES NOW Plaintiff John Doe, and hereby propounds the following Requests for

Production of Documents and Things on Defendant General Motors LLC. In accordance with

the Alabama Rules of Civil Procedure, Plaintiff requests that said Defendants respond hereto

within the time so allowed under the law:


                                           DEFINITIONS

        Certain words used in this discovery request have the meaning ascribed to them below,

namely:

        1.      “Document” means the original, all drafts, and all non-duplicate copies of the

following: all written, handwritten, typewritten, printed, photocopied, or graphic or recorded

material however produced or reproduced, or any other tangible record on which words, symbols,

or information are recorded, including but not limited to all letters, correspondence, memoranda,

notes, reports, papers, files, books, records, studies, appraisals, analyses, lists, budgets, bank

statements, financial statements, financial projections, financial calculations, tax returns, contracts,

agreements, recommendations, summaries, periodicals, charts, graphs, diagrams, tables,

tabulations, statistical computations, interviews, affidavits, transcripts, depositions, press releases,

brochures, books of account, journals, ledgers, cancelled checks, bills of account, bills, invoices

and other records of payment, photographs, calendars, diaries, telegrams and similar
                                               DOCUMENT 7
     Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 24 of 40




communications sent or received, minutes, notes of meetings, visits, or telephone conversations,

inter-office memoranda and communications, memoranda for files, address and telephone records,

logs, card files, results of investigations, working papers, computer printouts, instructions,

employee records, office manuals, messages, sound tapes, computer tapes, emails, text

messages, video tapes, films, or any other data compilation from which information can be

obtained. Document includes all such documents which are now in your possession, custody, or

control or were at any time in your possession, custody, or control.

          2.    “Person” means natural persons, corporations, partnerships, governments (or

agencies thereof), quasi-public entities, proprietorships, joint ventures, trusts, estates, and all other

forms of legal entities.

          3.    “Identify” means, with respect to a natural person, to set forth that person’s full

name and, on the first occasion that such person is identified, the following information:

                (a)        Present or last known residence address;

                (b)        Present or last known business address;

                (c)        Present or last known employer;

                (d)        Present or last known job title; and

                (e)        Employment history with you, if any, by date, title, and job description.

          4.    “Identify” mean, with respect to any entity other than a natural person, to set forth

the full name or title of the entity, to state the address and principal business or activity of such

entity.

          5.    “Identify” means (regardless of whether any claim of privilege is asserted), with

respect to a document, to set forth the following information:

                (a)        Its nature (e.g., letter, memorandum, report, etc.);
                                           DOCUMENT 7
    Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 25 of 40




               (b)     The date it bears or, if undated, the date it was written or created;

               (c)     The identity of the person(s) who wrote or created it;

               (d)     The identity of each signer, addressor and addressee of the document;

               (e)     The identity of each person who received it or received copies of it;

               (f)     Its file number or other identifying mark or code;

               (g)     Its general subject matter;

               (h)     Its present or last known location and the identity of the present custodian

of the document and present custodians of any copies of the document.

       6.      “Identify” means, with respect to an oral communication or other event, to set forth

the following information:

               (a)     Its substance;

               (b)     The date it occurred and the time;

               (c)     The place it occurred an, if different (as with a telephone communication),

the place it was received;

               (d)     For a communication, the identity of each participant; and

               (e)     The identity of all persons present when the communication occurred.

       7.      “Your” or “your” means yourself along with any of your agents, employees, and

representatives or any other person acting on your behalf.

       8.      “Related to” means directly or indirectly mentioning or describing, pertaining to,

being connected with, or reflecting upon a stated subject matter.

                               REQUESTS FOR PRODUCTION

       1.      Any and all communications submitted to Dealerlogix by the service department at

               Mullinax GMC, as indicated on the service record dated January 24, 2024, related
                                 DOCUMENT 7
Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 26 of 40




       to a defect in the GMC Sierra having Vehicle Identification Number

       IGTUUHEL4PZ230265.

  2.   Any and all response received by the service department at Mullinax GMC from

       Dealerlogix related to the inquiry submitted on January 24, 2024.

  3.   Any and all reports, communications or other documentation made by a General

       Motors field engineer that allegedly examined the GMC Sierra having Vehicle

       Identification Number IGTUUHEL4PZ230265 on March 7, 2024 during an

       appointment specifically arranged by Defendant General Motors LLC.

  4.   Any and all reports, communications or other documentation which resulted from

       a diagnostic check of a GMC Sierra having Vehicle Identification Number

       IGTUUHEL4PZ230265 at the service department at Capitol Chevrolet in

       Montgomery, Alabama on March 28, 2024.

  5.   Any and all reports, communications or other documentation which resulted from

       a diagnostic check of a GMC Sierra having Vehicle Identification Number

       IGTUUHEL4PZ230265 at the service department at Mullinax GMC in

       Montgomery, Alabama on March 28, 2024 or any date thereafter.

  6.   Any and all documents which pertain, in any manner whatsoever, to known defects

       in the GMC Sierra line of automobiles which defects relate (in any manner

       whatsoever) to issues and error codes sustained by Plaintiff’s GMC Sierra having

       Vehicle Identification Number IGTUUHEL4PZ230265.

  7.   Any and all internal documentation, including emails between engineers, related to

       known electronics defects in the GMC Sierra line of vehicles manufactured

       between 2020 and the present date. Please include in your response to this request
                                         DOCUMENT 7
    Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 27 of 40




              emails from engineers in the design department, manufacturing department and any

              other department which would have any knowledge of any kinds of known issues

              of the GMC Sierra line of motor vehicles.

       8.     Copies of all invoices paid by GMC to any agents, technicians or similar entities

              for any repairs to the GMC Sierra having Vehicle Identification Number

              IGTUUHEL4PZ230265 including, but not limited to, warranty repair payments

              paid to any dealer.

                                                   /s/ Nicholas C. Hughes
                                                   Nicholas Cole Hughes (HUG057),
                                                   Attorney for the Plaintiff
Argo | Hughes, LLC
Nicholas Cole Hughes (HUG057)
475 Providence Main Street, Suite 303D
Huntsville, AL 35806
Tel: 334-279-0088
Fax: 334-279-8830
nick@argohughes.com




                               CERTIFICATE OF SERVICE

      I hereby certify that I have electronically served a copy of the foregoing document using
the ALAFILE system upon all parties of record on this 3rd day of April 2024.


                                                   /s/ Nicholas C. Hughes
                                                   Nicholas Cole Hughes
                                             DOCUMENT 8
        Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 28 of 40


                                       AlaFile E-Notice




                                                                         03-CV-2024-900464.00


To: NICHOLAS COLE HUGHES
    nick@argohughes.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

                               JOHN DOE V. GENERAL MOTORS, LLC
                                     03-CV-2024-900464.00

                      The following discovery was FILED on 4/3/2024 11:41:48 AM




    Notice Date:     4/3/2024 11:41:48 AM




                                                                            GINA J. ISHMAN
                                                                    CIRCUIT COURT CLERK
                                                            MONTGOMERY COUNTY, ALABAMA
                                                                  251 S. LAWRENCE STREET
                                                                   MONTGOMERY, AL, 36104

                                                                                  334-832-1260
                                             DOCUMENT 8
        Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 29 of 40


                                       AlaFile E-Notice




                                                                         03-CV-2024-900464.00


To: GENERAL MOTORS, LLC (PRO SE)
    641 S. LAWRENCE ST
    C/O CORP SVC CO, INC
    MONTGOMERY, AL, 36104-0000




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

                               JOHN DOE V. GENERAL MOTORS, LLC
                                     03-CV-2024-900464.00

                      The following discovery was FILED on 4/3/2024 11:41:48 AM




    Notice Date:     4/3/2024 11:41:48 AM




                                                                            GINA J. ISHMAN
                                                                    CIRCUIT COURT CLERK
                                                            MONTGOMERY COUNTY, ALABAMA
                                                                  251 S. LAWRENCE STREET
                                                                   MONTGOMERY, AL, 36104

                                                                                  334-832-1260
                                         DOCUMENT 9
                                                              ELECTRONICALLY
      Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page  30 of 40       FILED
                                                                  4/17/2024 2:10 PM
                                                                              03-CV-2024-900464.00
                                                                              CIRCUIT COURT OF
                                                                        MONTGOMERY COUNTY, ALABAMA
                                                                            GINA J. ISHMAN, CLERK
         IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

JOHN DOE,                                   *
     Plaintiff,                             *
                                            *
vs.                                         *       CASE NO. CV-24-900464
                                            *
GENERAL MOTORS LLC,                         *
    Defendant.                              *

                         NOTICE OF SERVICE OF DISCOVERY

        COMES NOW the Plaintiff, by and through the undersigned, and hereby gives notice of

service of the following discovery upon counsel of record:

        1. Plaintiff’s First Requests for Admissions to General Motors LLC.

                                                    /s/ Nicholas C. Hughes
                                                    Nicholas Cole Hughes (HUG057),
                                                    Attorney for the Plaintiff
Argo | Hughes, LLC
Nicholas Cole Hughes (HUG057)
475 Providence Main Street, Suite 303D
Huntsville, AL 35806
Tel: 334-279-0088
Fax: 334-279-8830
nick@argohughes.com

                               CERTIFICATE OF SERVICE

      I hereby certify that I have electronically served a copy of the foregoing document using
the ALAFILE system upon all parties of record on this 18th day of April 2024.


                                                    /s/ Nicholas C. Hughes
                                                    Nicholas Cole Hughes
                                            DOCUMENT 9
      Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 31 of 40




           IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

JOHN DOE,                                       *
     Plaintiff,                                 *
                                                *
vs.                                             *       CASE NO. CV-24-900464
                                                *
GENERAL MOTORS LLC,                             *
    Defendant.                                  *

                   PLAINTIFF’S FIRST REQUESTS FOR ADMISSIONS
                      TO DEFENDANT GENERAL MOTORS LLC

        COMES NOW Plaintiff John Doe, and hereby propounds the following Requests for

Admissions on Defendant General Motors LLC. In accordance with the Alabama Rules of Civil

Procedure, Plaintiff requests that said Defendants respond hereto within the time so allowed under

the law:


                                           DEFINITIONS

        Certain words used in this discovery request have the meaning ascribed to them below,

namely:

        1.      “Document” means the original, all drafts, and all non-duplicate copies of the

following: all written, handwritten, typewritten, printed, photocopied, or graphic or recorded

material however produced or reproduced, or any other tangible record on which words, symbols,

or information are recorded, including but not limited to all letters, correspondence, memoranda,

notes, reports, papers, files, books, records, studies, appraisals, analyses, lists, budgets, bank

statements, financial statements, financial projections, financial calculations, tax returns, contracts,

agreements, recommendations, summaries, periodicals, charts, graphs, diagrams, tables,

tabulations, statistical computations, interviews, affidavits, transcripts, depositions, press releases,

brochures, books of account, journals, ledgers, cancelled checks, bills of account, bills, invoices

and other records of payment, photographs, calendars, diaries, telegrams and similar
                                               DOCUMENT 9
     Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 32 of 40




communications sent or received, minutes, notes of meetings, visits, or telephone conversations,

inter-office memoranda and communications, memoranda for files, address and telephone records,

logs, card files, results of investigations, working papers, computer printouts, instructions,

employee records, office manuals, messages, sound tapes, computer tapes, emails, text

messages, video tapes, films, or any other data compilation from which information can be

obtained. Document includes all such documents which are now in your possession, custody, or

control or were at any time in your possession, custody, or control.

          2.    “Person” means natural persons, corporations, partnerships, governments (or

agencies thereof), quasi-public entities, proprietorships, joint ventures, trusts, estates, and all other

forms of legal entities.

          3.    “Identify” means, with respect to a natural person, to set forth that person’s full

name and, on the first occasion that such person is identified, the following information:

                (a)        Present or last known residence address;

                (b)        Present or last known business address;

                (c)        Present or last known employer;

                (d)        Present or last known job title; and

                (e)        Employment history with you, if any, by date, title, and job description.

          4.    “Identify” mean, with respect to any entity other than a natural person, to set forth

the full name or title of the entity, to state the address and principal business or activity of such

entity.

          5.    “Identify” means (regardless of whether any claim of privilege is asserted), with

respect to a document, to set forth the following information:

                (a)        Its nature (e.g., letter, memorandum, report, etc.);
                                           DOCUMENT 9
     Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 33 of 40




               (b)     The date it bears or, if undated, the date it was written or created;

               (c)     The identity of the person(s) who wrote or created it;

               (d)     The identity of each signer, addressor and addressee of the document;

               (e)     The identity of each person who received it or received copies of it;

               (f)     Its file number or other identifying mark or code;

               (g)     Its general subject matter;

               (h)     Its present or last known location and the identity of the present custodian

of the document and present custodians of any copies of the document.

       6.      “Identify” means, with respect to an oral communication or other event, to set forth

the following information:

               (a)     Its substance;

               (b)     The date it occurred and the time;

               (c)     The place it occurred an, if different (as with a telephone communication),

the place it was received;

               (d)     For a communication, the identity of each participant; and

               (e)     The identity of all persons present when the communication occurred.

       7.      “Your” or “your” means yourself along with any of your agents, employees, and

representatives or any other person acting on your behalf.

       8.      “Related to” means directly or indirectly mentioning or describing, pertaining to,

being connected with, or reflecting upon a stated subject matter.

                               REQUESTS FOR ADMISSIONS

       1.      Admit that you were personally served with the Summons and Complaint in the

               above-styled case.
                                     DOCUMENT 9
Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 34 of 40




  2.    Admit that on March 17, 2023, Plaintiff purchased a new 2023 GMC Sierra 1500

        – Denali Ultimate (having Vehicle Identification Number IGTUUHEL4PZ230265)

        for the sum of $84,695.00, which motor vehicle was manufactured, distributed

        and/or imported by you.

  3.    Admit that Plaintiff’s 2023 GMC Sierra 1500 is a motor vehicle as defined by

        Section Title 8, §8-20A-1, Ala. Code 1975.

  4.    Admit that the engine in Plaintiff’s 2023 GMC Sierra 1500 is the 6.2L V8 engine

        with 10-speed automatic transmission.

  5.    Admit that the 6.2L V8 engine with 10-speed automatic transmission is supposed

        to be the top model engine offered in a GMC Sierra.

  6.    Admit that the Plaintiff’s 2023 GMC Sierra 1500 immediately began having

        significant non-conforming conditions.

  7.    Admit that the Motor Vehicle’s express warranty and implied warranties were in

        full force and effect at this time.

  8.    Admit that on September 8, 2023, Plaintiff took the vehicle to Mullinax GMC, an

        Authorized Dealer of you in Montgomery, Alabama, reporting engine and

        mechanical problems.

  9.    Admit that on January 24, 2024, Plaintiff took the vehicle to Mullinax GMC, an

        Authorized Dealer of you in Montgomery, Alabama, reporting engine and

        mechanical problems.

  10.   Admit that Defendant’s authorized dealer was able to duplicate the defect on

        January 24, 2024.

  11.   Admit that said authorized dealer was not able to remedy the defect.
                                   DOCUMENT 9
Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 35 of 40




  12.   Admit that Defendant’s authorized dealer sent an inquiry to Dealerlogix on January

        24, 2024 in an attempt to learn how to remedy the defect.

  13.   Admit that Dealerlogix reported on January 25, 2024 that they were unsure of how

        to remedy the defect.

  14.   Admit that Plaintiff provided high quality videos of a defect to Defendant’s

        authorized dealer on January 24, 2024.

  15.   Admit that said high quality videos were also sent to Dealerlogix.

  16.   Admit that on February 28, 2024 you received proper notice of a non-conforming

        condition as defined Section Title 8, §8-20A-1, Ala. Code 1975.

  17.   Admit that on March 5, 2024, Plaintiff specifically told the General Motor

        Company that he did not want to take the 2023 GMC Sierra 1500 to Mullinax GMC

        for a final opportunity to make repairs and preferred another location.

  18.   Admit that on March 5, 2024, Defendant insisted that Plaintiff take the vehicle at

        issue to Mullinax GMC in Montgomery, Alabama.

  19.   Admit that on March 6, 2024, at the request of General Motors Company, Plaintiff

        took the vehicle to Mullinax GMC, an Authorized Dealer of you in Montgomery,

        Alabama, so that the defects could be diagnosed by a General Motors Field

        Engineer.

  20.   Admit that on March 6, 2024, the service manager at Defendant’s authorized dealer

        heard a defect in Plaintiff’s 2023 GMC Sierra 1500 and stated that something

        definitely was not working properly.

  21.   Admit that Plaintiff provided high quality videos of a defect in the 2023 GMC

        Sierra 1500 to Defendant’s Field Engineer on March 7, 2024.
                                   DOCUMENT 9
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  22.   Admit that the motor vehicle was held for one (1) days during the service visit of

        March 6, 2024.

  23.   Admit that Plaintiff was informed that Defendant’s Field Engineer was able to

        duplicate a defect in Plaintiff’s 2023 GMC Sierra 1500 and also viewed the videos

        provided by Plaintiff.

  24.   Admit that Defendant’s authorized dealer and Field Engineer were not able to

        remedy the defect.

  25.   Admit that on March 28, 2024 the defects in Plaintiff’s 2023 GMC Sierra 1500

        became worse to the extent that the vehicle was not safe to operate.

  26.   Admit that on March 28, 2024 Plaintiff took the vehicle at issue to Capitol

        Chevrolet, another authorized dealer of the Defendant, in Montgomery, Alabama.

  27.   Admit that a diagnostic report was run on the vehicle at issue and multiple problems

        were reported.

  28.   Admit that Plaintiff was told that he was going to have leave the vehicle at Capitol

        Chevrolet due to the reported issues.

  29.   Admit that Capitol Chevrolet was not able to begin attempts to repair the vehicle at

        the present time so they suggested that Plaintiff return to Mullinax GMC in

        Montgomery, Alabama.

  30.   Admit that on March 28, 2024 Plaintiff took the vehicle at issue back to Mullinax

        GMC in Montgomery, Alabama.

  31.   Admit that a diagnostic report was run on the vehicle at issue by Mullinax GMC

        and multiple problems were again reported.
                                    DOCUMENT 9
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  32.   Admit that a diagnostic report indicated twelve-hundred (1,200) misfires from the

        engine.

  33.   Admit that the motor vehicle was held for sixteen (16) days during the service visit

        of March 28, 2024.

  34.   Admit that Mullinax GMC replaced lifters in the engine of the vehicle at issue in

        an attempt to repair the defects.

  35.   Admit that Mullinax GMC replaced cylinders in the engine of the vehicle at issue

        in an attempt to repair the defects.

  36.   Admit that Defendant is aware of numerous issues with lifters and cylinders in the

        engines of vehicles of the same make and model as the Plaintiff’s 2023 GMC Sierra

        1500.

  37.   Admit that Mullinax GMC damaged the grille to Plaintiff’s GMC Sierra 1500 while

        diagnosing and attempting to repair the defects.

  38.   Admit that Plaintiff’s 2023 GMC Sierra 1500 remains damaged as of the present

        date.

  39.   Admit that the engine in Plaintiff’s 2023 GMC Sierra 1500 is still defective after

        repair attempts.

  40.   Admit that an irregular noise continues to emit from the engine in Plaintiff’s 2023

        GMC Sierra 1500.

  41.   Admit that an irregular noise continues to emit from the climate control system in

        Plaintiff’s 2023 GMC Sierra 1500.

  42.   Admit that the audio from the Infotainment system cuts in and out shortly after

        startup on all inputs.
                                         DOCUMENT 9
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       43.    Admit that Defendant is aware of numerous issues with the Infotainment systems

              of vehicles of the same make and model as the Plaintiff’s 2023 GMC Sierra 1500.

       44.    Admit that as of this date, the non-conforming conditions of Plaintiff’s 2023 GMC

              Sierra 1500 have not been cured.

                                                   /s/ Nicholas C. Hughes
                                                   Nicholas Cole Hughes (HUG057),
                                                   Attorney for the Plaintiff
Argo | Hughes, LLC
Nicholas Cole Hughes (HUG057)
475 Providence Main Street, Suite 303D
Huntsville, AL 35806
Tel: 334-279-0088
Fax: 334-279-8830
nick@argohughes.com




                               CERTIFICATE OF SERVICE

      I hereby certify that I have electronically served a copy of the foregoing document using
the ALAFILE system upon all parties of record on this 18th day of April 2024.


                                                   /s/ Nicholas C. Hughes
                                                   Nicholas Cole Hughes
                                            DOCUMENT 10
        Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 39 of 40


                                       AlaFile E-Notice




                                                                         03-CV-2024-900464.00


To: NICHOLAS COLE HUGHES
    nick@argohughes.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

                               JOHN DOE V. GENERAL MOTORS, LLC
                                     03-CV-2024-900464.00

                      The following discovery was FILED on 4/17/2024 2:10:19 PM




    Notice Date:     4/17/2024 2:10:19 PM




                                                                            GINA J. ISHMAN
                                                                    CIRCUIT COURT CLERK
                                                            MONTGOMERY COUNTY, ALABAMA
                                                                  251 S. LAWRENCE STREET
                                                                   MONTGOMERY, AL, 36104

                                                                                  334-832-1260
                                            DOCUMENT 10
        Case 2:24-cv-00249-MHT-KFP Document 1-2 Filed 04/26/24 Page 40 of 40


                                       AlaFile E-Notice




                                                                         03-CV-2024-900464.00


To: GENERAL MOTORS, LLC (PRO SE)
    641 S. LAWRENCE ST
    C/O CORP SVC CO, INC
    MONTGOMERY, AL, 36104-0000




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                   IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

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